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                                          U.S. Department of Justice

                                          Matthew M. Graves
                                          United States Attorney

                                          District of Columbia


                                          Patrick Henry Building
                                          601 D Street, NW
                                          Washington, D.C. 20530

                                          January 9, 2024

Mark J. Langer, Clerk
United States Court of Appeals
for the District of Columbia Circuit
333 Constitution Avenue, N.W., Room 5423
Washington, D.C. 20001-2866

     Re:   United States v. Couy Griffin, No. 22-3042
           Oral argument held December 4, 2023, before Judges Pillard,
           Katsas, and Rogers

Dear Mr. Langer:

     Pursuant to Federal Rule of Appellate Procedure 28(j), the
government responds to appellant’s January 6, 2024, submission of
United States v. Groseclose, 2024 WL 68248 (D.D.C. 2024), as
supplemental authority to this Court.

      Groseclose supports the government’s argument that Congress did
not intend to require a defendant to know why a particular area is
restricted under 18 U.S.C. § 1752(c)(1)(A)-(C) because, “like jurisdictional
elements, these requirements have nothing to do with the wrongfulness
of the defendant’s conduct[.]” Brief for the United States at 43 (quotation
marks omitted).

      Groseclose explained that “[j]urisdictional elements are subject to a
different set of rules when it comes to mens rea. Even if a plain
grammatical reading suggests otherwise, scienter requirements usually
do not apply to purely jurisdictional elements because they ‘normally
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have nothing to do with the wrongfulness of the defendant’s conduct.’”
2024 WL 68248, at *6 (quoting Rehaif v. United States, 139 S. Ct. 2191,
2196 (2019)). Groseclose noted that “‘the significance of labeling a
statutory requirement as “jurisdictional” is not that the requirement is
viewed as outside the scope of the evil Congress intended to forestall, but
merely that the existence of the fact that confers federal jurisdiction need
not be one in the mind of the actor at the time he perpetrates the act
made criminal by the federal statute.’” Id. at *7 (quoting United States v.
Feola, 420 U.S. 671, 676 n.9 (1975)). And it concluded that, when
Congress first enacted § 1752, “the requirement that a Secret Service
protectee be on the premises would appear to be ‘jurisdictional only’ in
much the way Feola described.” Id.; see also, e.g., United States v.
Burwell, 690 F.3d 500, 537 n.10 (D.C. Cir. 2012) (en banc) (Kavanaugh,
J., dissenting) (“Elements are jurisdictional-only if they seek only to
confer jurisdiction on the federal courts. A typical example is the federal
status of property or the federal affiliation of an individual.”) (quotation
marks and citation omitted).

                                   Respectfully submitted,

                                   MATTHEW M. GRAVES
                                   United States Attorney

                                   CHRISELLEN R. KOLB
                                   Assistant United States Attorneys

                                          /s/
                                   DANIEL J. LENERZ
                                   Assistant United States Attorney
                                   601 D Street, NW
                                   Washington, DC 20530

cc:   Lisa B. Wright, Esq.
      Assistant Federal Public Defender
      625 Indiana Avenue NW, Suite 550
      Washington, D.C. 20004
